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                                           MICHAEL HERRON
                                       6

                                       7                                 IN THE UNITED STATES DISTRICT COURT

                                       8                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                       9   UNITED STATES OF AMERICA,                           Case No. 2:18-CR-00058
                                      10                    Plaintiff,
                                                                                               STIPULATION AND ORDER TO
                                      11            v.                                         ADVANCE SENTENCING

                                      12   MICHAEL HERRON,                                     Judge: Honorable John A. Mendez

                                      13                    Defendant.
B ARTH D ALY LLP
               A TTORNEYS A T L AW
               D AVIS , C ALIFORNIA




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                                      15            It is hereby stipulated and agreed to between the United States of America, by and through
                                      16   its counsel Assistant United States Attorney Amy Hitchcock, and defendant, Mike Herron, by and
                                      17   through his counsel, Kresta Nora Daly, that the sentencing set for July 2, 2019 be vacated. The
                                      18   defense wishes to advance the sentencing date in this matter. Counsel for the government and
                                      19   probation do not object to the defense’s requested sentencing date of June 25, 2019.
                                      20

                                      21   Dated: June 14, 2019.                     BARTH DALY LLP
                                      22                                             By   /s/ Kresta Nora Daly
                                                                                          KRESTA NORA DALY
                                      23                                                  Attorneys for MICHAEL HERRON
                                      24
                                           Dated: June 14, 2019.                     By   /s/ Kresta Nora Daly for
                                      25                                                  AMY HITCHCOCK
                                                                                          Assistant United States Attorney
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                                           {00028572}                                      -1-
                                                  STIPULATION AND [PROPOSED] ORDER                                  [Case No. 2:18-CR-00058-JAM]
                                              Case 2:18-cr-00058-JAM Document 73 Filed 06/17/19 Page 2 of 2


                                       1                                                   ORDER
                                       2            GOOD CAUSE APPEARING upon the stipulation of the parties it is ordered:
                                       3   The sentencing set for July 2, 2019 is vacated. Sentencing is reset for June 25, 2019.
                                       4

                                       5            IT IS SO ORDERED.
                                       6   Dated:       June 14, 2019
                                       7
                                                                                       /s/ John A. Mendez________________________
                                       8                                               HONORABLE JOHN A. MENDEZ
                                                                                       UNITED STATES DISTRICT COURT JUDGE
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B ARTH D ALY LLP
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               D AVIS , C ALIFORNIA




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                                                    STIPULATION AND [PROPOSED] ORDER                               [Case No. 2:16-CR-00113-GEB]
